  Case 16-28583       Doc 37   Filed 08/08/18 Entered 08/09/18 10:14:27                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )                BK No.:    16-28583
Danielle R Gaddy                               )
                                               )                Chapter: 13
                                               )
                                                               Honorable Deborah L. Thorne
                                               )
                                               )
               Debtor(s)                       )

                    ORDER MODIFYING THE PLAN POST CONFIRMATION


THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court having
jurisdiction, with due notice having been given to all parties in interest, the Court orders as follows:


IT IS SO ORDERED:


   1. The Debtor's plan is modified post-confirmation by increasing the plan payment to $580 a month
beginning September 2018 to account for and cure debtor's failure to turnover her 2017 tax refund to the
trustee in the amount of $1,150 and deferring the default, thereby increasing the pot amount only by
$1,150.




                                                            Enter:


                                                                     Honorable Deborah L. Thorne
Dated: August 08, 2018                                               United States Bankruptcy Judge

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